        Case 1:21-cv-02003-MHC Document 46 Filed 11/01/21 Page 1 of 1




Case: 1:21-cv-02003-MHC-LTW Cordtz v. Johnson Legal Offices, LLC et al
Outline of discovery issues and a plan of action for resolving them.
Plaintiff’s position: Whether Defendants are “debt collectors” as defined by the
FDCPA (15 USC 1692a(6)) is outcome determinative and is fiercely contested by
the parties. If Defendants irregularly collect consumer debts, then they are not
subject to the FDCPA. FCI Lender Services, Inc. (“FCI”) has stipulated that it is a
“debt collector” in lieu of providing certain discovery. As for Larry W. Johnson
(“LWJ”) and Johnson Legal Offices, LLC (“JLO”), on 6/17/21 (Doc. 12, Pg. 13 of
17) LWJ and JLO claimed that “in the last year [they] derived less than 2% of their
income by means of [debt collection]”. This was a sworn statement. (Doc. 12, Pg.
15 of 17). In discovery it has been revealed that 1) LWJ and JLO earned more than
$15,000 from collecting Plaintiff’s single debt and 2) earned other collection
income from a) an of counsel relationship with the collections law firm of Jauregui
& Lindsey, LLC (“J&L”) b) its representation of the mortgage servicer State Home
Mortgage (“SHM”) in conducting foreclosures.
Plan of Action Requested: LWJ and JLO be required to provide 3 years of tax
returns, contracts with J&L and SHM and proof of each payment for work derived
from J&L and SHM. Plaintiff has provided his contract with Shimshon Wexler for
this case and the contract with his state court lawyer in the debt collection case.
